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                                                     November 29, 2022

VIA ECF


The Honorable Judge John F. Docherty
Magistrate Judge
United States District Court for the District of Minnesota
316 North Robert Street
St. Paul, MN 55101


           Re:          In re Pork Antitrust Litigation, 0:18-cv-0177 (JRT/JFD)
                        Order on Motion to Compel Structured Data (ECF No. 1608)

Dear Judge Docherty:

       On November 16, 2022, the Court denied certain Direct Action Plaintiffs’
(“DAPs”)1 Motion to Compel certain Defendants2 (the “Order”) and further
ordered DAPs and Defendants (together, the “Parties”) to “promptly meet and
confer regarding any redactions that may be required to protect confidential
information” in the Order, and “file a joint letter and proposed redacted order
within 14 days.” (ECF No. 1608 at 14.)

      The Parties met and conferred and agree no redactions are necessary;
accordingly, the Order can be unsealed in its entirety.




1
 Amory Investments LLC; Compass Group USA, Inc.; Conagra Brands, Inc.;
Howard B. Samuels solely as Trustee for the estate of Central Grocers, Inc.;
Nestlé Purina PetCare Company; Nestlé USA, Inc.; and Sysco Corporation.
2
  Hormel Foods Corp.; Hormel Foods, LLC; JBS USA Food Company; Smithfield
Foods, Inc.; Tyson Foods, Inc.; Tyson Prepared Foods; and Tyson Fresh Meats,
Inc.
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 Respectfully submitted,

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